                       UNITED STATES DISTRICT COURT

                        MIDDLE DISTRICT OF LOUISIANA

JANE DOE                                               CIVIL ACTION

VERSUS                                                 NO.: 3:22-cv-00338-BAJ-SDJ

BOARD OF SUPERVISORS OF THE
UNIVERSITY OF LOUISIANA SYSTEM;             JUDGE BRIAN A. JACKSON
BOARD OF SUPERVISORS OF LOUISIANA
STATE UNIVERSITY AND AGRICULTURAL MAGISTRATE JUDGE
AND MECHANICAL COLLEGE; and                 SCOTT D. JOHNSON
LAFAYETTE CITY-PARISH
CONSOLIDATED GOVERNMENT
************************************************************************
    MOTION TO EXTEND DISCOVERY DEADLINE FOR DEPOSITIONS

       NOW INTO COURT, through undersigned counsel, comes Defendant, Board of

Supervisors of the University of Louisiana System (“ULS”), who moves to extend the

deadline relating to fact discovery to accommodate certain depositions for the following

reasons:

       Plaintiff and Defendants are committed to working together to move this matter

forward as expeditiously as possible, without prejudicing any party. This Court previously

ordered the extension of the fact discovery deadline to October 31, 2023. (R. Doc. 70).

The parties have worked together to conduct discovery prior to this deadline. However, it

has become clear, prior to the Oct. 31, 2023 deadline, that necessary discovery, including

certain depositions, remain outstanding and the current deadline does not allow sufficient

time to conduct these depositions and/or follow-up with any necessary discovery motions

or other discovery.



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       Counsel for Plaintiff and undersigned counsel conferred on October 13, 2023

regarding some of these discovery issues. At that time, ULS proposed agreement to extend

the discovery deadline. Plaintiff objected. After further discussion, Plaintiff and ULS

agreed to extend the October 31, 2023 discovery deadline to November 10, 2023 to allow

for certain depositions that “had already been noticed” per Plaintiff’s counsel. It has since

been determined that those certain depositions, agreed to be taken by Nov. 10, 2023, are

the following:

           •     Pres. Les Guice – November 6 – morning
           •     Tree’ George (30(b)(6) witness) – November 6 – afternoon
           •     Joshua Chovanec (30(b)(6) witness) – November 7 – morning
           •     Tasha Evans (30(b)(6) witness) – November 8
           •     Amy Desormeaux (30(b)(6) witness) – November 8
           •     Ryan Ford - November 10 at 9:00 a.m.
           •     Kayla Alvarez – November 10 at 11:00 a.m.
           •     Various LSU witnesses requested by Plaintiff – not yet set
           •     Officer Bettencourt, LSU PD – not yet set


       Counsel for ULS circulated a proposed Joint and Consent Motion to Extend the

Discovery Deadline to allow for depositions.         Counsel for Lafayette Consolidated

Government (“LCG”) objected to the motion on the grounds that Plaintiff had recently

refused to respond to discovery requests propounded by LCG, the due date of which was

Nov. 8, 2023. LCG objected to the extension of the discovery deadline to Nov. 10 to only

accommodate certain depositions but not to include Plaintiff’s responses to LCG’s

discovery requests, necessitated by Plaintiff’s deposition testimony on September 20,

2023. LCG then filed its own motion to extend not only the discovery deadline in place,

but any other necessary deadlines, including expert deadlines, in order to accommodate the

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completion of all discovery, not just select depositions. (R. Doc. 75). Plaintiff opposes

LCG’s motion. ULS does not oppose this motion. ULS also finds LCG’s motion to be

well-founded, necessary, and non-prejudicial as it will not upset the December 2024 trial

date in place. ULS, therefore, respectfully suggests that LCG’s pending motion, which

includes a request for a scheduling conference with the Court, should be entertained by the

Court prior to the instant motion.

         Subject to the foregoing, and in the interest of subscribing to the Court’s local rules,

methods, and practices of extending deadlines of record prior to their expiration, ULS

moves the Court to extend the October 31, 2023 discovery deadline to November 10, 2023,

to allow for the depositions outlined above. LCG opposes this limited request; Plaintiff

does not oppose this limited request.

         Trial in this matter is scheduled for December 9, 2024, at 8:30 a.m. Therefore, a

brief and limited extension of this deadline (or any others as deemed necessary by the

Court) will not affect the trial date.

         WHEREFORE, for reasons set forth above, and in accordance with Federal Rule

Civil Procedure 16, Defendant, Board of Supervisors of the University of Louisiana System

(“ULS”) respectfully requests that this Honorable Court extend the deadline as prayed for

above.



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Respectfully submitted,

      JEFF LANDRY                              DECUIR, CLARK & ADAMS, L.L.P.
      Attorney General

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      (Counsel for the Board of Supervisors of Louisiana System)
      of the University of Louisiana System)



                           CERTIFICATE OF SERVICE

      I hereby certify that the above and foregoing has been served this day upon all
known counsel of record by placing a copy in the United States Mail, properly addressed
and postage prepaid, and/or by electronic transmission and/or facsimile transmission.
      Baton Rouge, Louisiana, this 25th day of October, 2023.


                               s/ Andrew Blanchfield
                             ANDREW BLANCHFIELD




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